Dear Honorable Hill
We are in receipt of your request for an Attorney General's opinion dated February 12, 1979, wherein you asked, in effect, for this office to review a previous Attorney General's opinion, No. 73-148. The question presented in No. 73-148 was as follows:
Must a substitute teacher who teaches for more than twenty (20) schooldays during a school year be considered a regular substitute teacher forcontractual and salary purposes?
Prior Attorney General's Opinion 73-148 in reliance upon the provisions of 70 O.S. 6-105 (1971), answered the question in the affirmative stating that a substitute teacher who teaches for more than twenty (20) school days during a school year must be considered a regular substitute teacher for contractual and salary purposes. Since the 1973 Opinion of the Attorney General was promulgated the provisions of 70 O.S. 6-105 have been amended by laws 1976, C. 286, Section 3. However, there was no substantial modification to the language relied upon as authority for the prior Attorney General's Opinion No. 73-148. The only modifications of the language used to support the conclusion of the Attorney General and the prior opinion was to substitute "he or she" for the previously employed masculine pronoun "he".
It is, therefore, the opinion of the Attorney General that the previousOpinion of the Attorney General No. 73-148 has not been substantiallyaffected by any subsequent amendment or modification of the language of70 O.S. 6-105 (1976).
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
JOHN F. PERCIVAL, ASSISTANT ATTORNEY GENERAL